Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 1 of 31 PageID# 983



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 MICHELLE RAHBAR, a/k/a Michelle Clark,                 )
                                                        )
                    Plaintiff,                          )
                                                        )
          V.                                            )      1: 18-cv-1475 (LMB/MSN)
                                                        )
  LAW OFFICE OF ARQUILLA & POE,                         )
    PLC, et al.,                                        )
                                                        )
                    Defendants.                         )

                                   MEMORANDUM OPINION

         In April 2013, Michelle Rahbar, who at the time was known as Michelle Clark

 ("plaintiff'), separated from her then-husband Andrew Clark ("Clark"), and the two began an

 acrimonious divorce process. Plaintiff engaged the Law Office of Arquilla & Associates, PLC

 (the "Law Office") 1 and its attorney Michael L. Poe ("Poe") to represent her in the divorce

 proceedings. Those proceedings culminated in a consent order and final divorce decree entered

 in July and December of 2015, respectively. In November 2018, plaintiff, acting pro se, 2 filed

 this civil action against the Law Office and Poe (together, "defendants"), alleging that in the

 course of those divorce proceedings, defendants committed legal malpractice and a host of other

 state-law torts.



 1
  The firm's name has since been changed to the Law Office of Arquilla & Poe, PLC. Defs.'
 Memo. in Supp. of Mot. to Dismiss [0kt. No. 10] 2-3.
 2 Although plaintiff is an attorney, she has "only ever practiced part-time transactional law ...
 and participated in pro bono programs ... and community based low income clinics," and has
 not practiced in several years. First Am. Pro Se Pl.'s Memo. in Opp'n to Defs.' Mot. to Dismiss
 [Dkt. No. 25] 7. Moreover, she has recently been diagnosed with serious health conditions that
 affect her "physical and mental abilities." Id. at 7-8. As such, the Court will afford her
 pleadings and memoranda the "liberal[]" treatment given to all documents filed by prose
 litigants. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam).
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 2 of 31 PageID# 984



        Before the Court is defendants' motion to dismiss the complaint for failure to state a

 claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure. Defendants' motion has been

 fully briefed3 and is ripe for decision. 4 For the reasons stated below, the motion will be granted

 in part and denied in part.

                                        I. BACKGROUND

        A. Factual Background 5

        Plaintiff and Clark were married in 2005. Defs.' Memo. in Supp. of Mot. to Dismiss

 ("Defs.' Memo.") Ex. B [Dkt. No. 10-2] 2. The following year, they had a son, M.F.C. 6 Id. The

 family lived together in a Falls Church, Virginia home of which Clark was the sole owner before

 the marriage. Plaintiff alleges that her husband gave her a one-half interest in that property in

 2008 through a deed of gift. Comp!. for Civil Case ("Comp!.") Ex. II [Dkt. No. 1-2] 14-15.




 3
   On March 20, 2019, plaintiff filed a sur-reply styled as a "Request to Respond to Defendant[s']
 Brief in Support of Their Motion to Dismiss" [0kt. No. 28]. As previously explained to plaintiff
 [0kt. No. 16], leave to file a sur-reply typically is not granted unless necessary to aid the
 decisional process; however, because plaintiffs memorandum meaningfully responds to an
 argument articulated only in defendants' reply, the Court finds good cause to grant plaintiff leave
 to file the sur-reply.
 4
   Plaintiff has advised that due to her fibromuscular dysplasia and the side effects she is
 experiencing from her medication, she may have difficulty responding to questions or pressing
 her arguments during live hearings. Accordingly, on February 1, 2019, the Court issued an order
 stating that defendants' motion to dismiss would be resolved based on the parties' written
 submissions. The Court is satisfied that the parties' memoranda address all relevant issues and
 that oral argument would not produce a different result.
 5
   The following facts are drawn from plaintiffs complaint, including the exhibits attached
 thereto, as well as from documents submitted by the parties that were either "explicitly
 incorporated into the complaint by reference" or "integral to the complaint ... [with] no dispute
 about [their] authenticity." Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 165-66 (4th Cir.
 2016). Although a Rule 12(b)(6) motion "tests the sufficiency of a complaint," the Court may
 consider this universe of documents without converting the motion into one for summary
 judgment. Id. at 165 (quoting Occupy Columbia v. Haley. 738 F.3d 107, 116 (4th Cir. 2013)).
 6
   Consistent with Rule 5.2(a) of the Federal Rules of Civil Procedure, the couple's son is
 identified only by his initials, M.F.C.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 3 of 31 PageID# 985



 Although plaintiff occasionally took on part-time work, she mostly stayed at home and cared for

 their son, M.F.C. Compl. 3.

        The couple separated in April 2013. Defs.' Memo. Ex. A [Dkt. No. 10-1] 116. On

 September 22, 2014, plaintiff entered into a retainer agreement with the Law Office "to represent

 [her] ... [in securing] a divorce and during the court proceedings that follow." Compl. Ex. I

 [Dkt. No. 1-1] art. 1. The retainer agreement provides that any dispute as to the "validity,

 interpretation, and execution" of the agreement would be governed by Virginia law. Id. art. 16. 7

        A multiple-day trial to determine issues related to the couple's divorce was held

 beginning on July 8, 2015 before the Honorable Judge Fiore of the Circuit Court of Arlington

 County, Virginia. See Compl. 3. Several matters were at issue, the first involving custody of

 M.F.C. Custody and visitation issues had been hotly contested since at least January 2015, when

 Clark moved for an order to show cause based on his claim that plaintiff-who under the terms

 of an order pendente lite had primary physical custody of M.F.C.-was failing to deliver the

 child into his custody during agreed visitation hours. See Defs.' Memo. Ex. A [Dkt. No. 10-1]

 79-80, 83-85. At a previous hearing on that motion, Clark had presented a video recording he

 claimed showed that plaintiff"was keeping [M.F.C.] from his father." Compl. 9. Plaintiff

 argued that M.F .C. had engaged in "emotional outbursts and efforts to harm himself' due to

 distress ahead of scheduled visitation times with his father. Although plaintiff had taken videos

 of those outbursts, she claims that Poe opted not to play those videos at the show cause hearing




 7
  The retainer agreement also provides that "any legal action to enforce or contest issues in [the
 a]greement shall be brought in the Circuit and General District Court of Fairfax County,
 Virginia." Comp I. Ex. I [Dkt. No. 1-1] art. 16. Defendants have not moved to dismiss on the
 basis of this clause and thus may have impliedly waived their right to assert it. See Bartels
 ex rel. Bartels v. Saber Healthcare Grp., LLC, 880 F.3d 668, 678-97 (4th Cir. 2018); Kettler
 Int'l. Inc. v. Starbucks Corp., 55 F. Supp. 3d 839, 849-50 (E.D. Va. 2014).


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 4 of 31 PageID# 986



 and that as a result, the court found her to be in violation of the pendente lite order and ordered

 her to undergo a psychiatric evaluation. See First Am. Pro Se Pl.'s Memo. in Opp'n to Defs.'

 Mot. to Dismiss ("Pl. 's Opp'n") Ex. 4 [Dkt. No. 25-4].

        The custody issue occupied most of the second day of the trial (July 9, 2015). Plaintiff

 gave extended testimony about her relationship with the couple's son, her views on Clark's

 relationship with the child, and developmental challenges the child was facing. 8 See Defs.'

 Memo. Ex. A [Dkt. No. 10-1] 5-102. The judge heard testimony from both parents and heard

 argument from the guardian ad litem, who recommended that primary physical custody be

 transitioned from plaintiff to Clark. See id. at 111, 209; see also id. at 218 ("[l]f the court were

 inclined to [address] custody ... right now, ... I would certainly have to say that Mr. Clark

 shows more stability."). After considering the parties' testimony, as well as the report prepared

 by the guardian ad litem and the mental health evaluation prepared by plaintiffs long-time

 psychiatrist,9 the court ordered that Clark and plaintiff would have joint legal custody of M.F.C.

 but that Clark would have physical custody of the child, with plaintiff having only limited

 visitation rights. Id. at 222-30; see also Pl.'s Opp'n Ex. 5 [Dkt. No. 25-5] (setting out the final

 terms with respect to custody and visitation). The court gave several reasons for this ruling,


 8
  At trial, plaintiff testified that M.F.C. has a "phonological processing deficit" that has delayed
 his progress in areas like reading and writing. Defs.' Memo. Ex. A [Dkt. No. 10-1] 11. There
 were also suggestions at trial that M.F.C. suffers from attention deficit disorder and has difficulty
 with social skills. See id. at 16-17, 28-29.
 9
   Plaintiff alleges that psychiatric evaluations were not covered by her medical insurance; that
 cost estimates for such an evaluation varied greatly depending on "what tests the Court wanted
 conducted"; and that Poe refused to ask the court for clarification as to the required content of
 the evaluation and similarly refused to petition the court to appoint an evaluator at taxpayer
 expense. Id. at 10-12. In the end, plaintiff submitted an evaluation prepared by Dr. Khalil, her
 longtime psychiatrist, see Defs.' Memo. Ex. A [Dkt. No. 10-1] 79-80; however, the guardian ad
 litem suggested that the court might benefit from "a more detailed mental health evaluation"
 performed by a psychologist rather than a psychiatrist, see id. at 232; see also id. at 217. The
 court did not stay its resolution of the custody issue to await such an evaluation.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 5 of 31 PageID# 987



 including concerns with plaintiffs mental health, "ability to process information," and

 decisionmaking capacity; evidence suggesting that while under plaintiffs primary custody,

 M.F.C. had exhibited "a serious lack [of] social development and educational development"; and

 the court's impression that Clark was more "focused and ... determined for [M.F.C.] to achieve

 a greater social functionality and ... [a] better educational achievement." Defs.' Memo. Ex. A

 [Dkt. No. 10-1] 222-30; see also id. at 233 (discussing plaintiffs "mental health issues,"

 including diagnoses of "major depression[,] anxiety disorder and attention deficit disorder").

        The division of marital property, and in particular the couple's home, which was valued

 at approximately $950,000, became a second hotly contested issue during the trial. See

 Compl. 7. The court heard testimony about how the home was financed, costs incurred over the

 years to improve the property, the couple's income levels, and the 2008 gift deed, which Poe

 claimed unambiguously manifested Clark's intent to transform the home into marital property

 under state-law precedent. 10 The court made a series of factual findings-for example, that

 Clark's income was $70,000 and plaintiffs $20,000, that the marital residence was Clark's sole

 property before the marriage, that Clark (or his family) was responsible for the down payment

 and several improvements made to the home, and that "[t]he gift deed of 2008 is unambiguous

 and shows the gift as of the date of that deed"-but deferred a final decision on equitable

 distribution until the next day. Defs.' Memo. Ex. A [Dkt. No. 10-1] 233-35. Specifically, the

 court gave Poe "an opportunity to review the Brandenburg calculations" 11 and dispute them the


 10
   Poe directed the court to Utsch v. Utsch, 581 S.E.2d 507 (Va. 2003), in which the Virginia
 Supreme Court held that a gift deed transferring title of the husband's formerly separately owned
 residence to himself and his wife as tenants by the entirety "was unambiguous on its face, both
 for the purpose of retitling and [for] proof of donative intent," and accordingly "parol evidence
 surrounding its execution was not admissible." Id. at 507-08.
 11
  Originally developed in Brandenburg v. Brandenburg. 617 S.W.2d 871 (Ky. Ct. App. 1981),
 what is now known as the Brandenburg formula is a method of "apportion[ing] the marital and


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 6 of 31 PageID# 988



 following day, if necessary. Id. at 234-35 ("If there's an objection to [the calculation], I'd like to

 know what it is. Otherwise you can just agree to what the number is."). When Poe asked for a

 clarification with respect to the marital home, arguing that "the case law is pretty clear," the

 court responded, "I'll let you be heard on that tomorrow." Id. at 236; see also id. at 238 ("So

 [tomorrow] I'll hear the parties on the issue of the division of the property, based upon the

 court's finding on the deed of gift. I'll also give the parties an opportunity to discuss the division

 of the marital home, considering the contributions that have been made prior to the marriage.").

 The court also urged the parties to see if they could resolve the issues on their own, stating that

 there was "no reason why [they] shouldn't be able" to "agree on that equity division." Id. at 240.

 The court then recessed for the day.

        Plaintiff alleges she spoke to Poe immediately after the court had recessed to inform him

 that in light of the court's custody ruling, Clark had graciously offered her the chance to spend

 the following day with M.F.C. even though it was his tum under the pendente lite order. She

 asked Poe whether "she had to be at Court the next day as she would be with the minor child."

 Compl. 4. Poe told her that her presence was unnecessary "given that there was no more

 testimony to be heard." Id. On that advice, plaintiff decided not to attend the third day of trial,

 believing that all that was left was for Poe to "argue the issue of the impact of the gift deed on

 the property division and terms of spousal support." Id.




 non-marital components of hybrid property"-that is, "[ w]hen marital property and separate
 property are commingled by contributing one category of property to another." Hart v. Hart,
 497 S.E.2d 496, 504-05 & n.3 (Va. Ct. App. 1998) (quoting Va. Code Ann. § 20-
 107.3(A)(3 )(d) ). Although the Brandenburg formula "is an acceptable method of tracing and
 determining the value of the marital and separate property components of hybrid property," id. at
 505, it is not the only permissible method, and indeed in some instances can "yield an unfair
 result," Keeling v. Keeling. 624 S.E.2d 687, 690 (Va. Ct. App. 2006).


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 7 of 31 PageID# 989



        The next day (July 10, 2015), Poe and Clark's counsel, Ronald L. Hiss ("Hiss"),

 announced to the court that they had enjoyed "the most productive 15 minutes of th[ e] entire

 two[-]year odyssey" of divorce proceedings the previous evening, Pl.'s Opp'n Ex. 13 [Dkt.

 No. 26-4] 3, informing the court that the parties had amicably resolved "[a]ll the numbers" and

 that "[t]here w[ould] be no legal argument on the part of' either attorney, id. Hiss and Poe

 presented to the court a draft consent order stating that Clark would buy out plaintiffs interest in

 the home for $95,611.50-essentially I 0% of its market value-with a $ I 7,500 down payment

 and monthly payments of approximately $ I ,300 for five years thereafter. See Compl. Ex. IV

 [Dkt. No. 1-4] (initial consent order); Defs.' Memo. Ex. B [Dkt. No. I 0-2] 7-8 (incorporating

 those terms into the final divorce decree). The agreement also resolved other outstanding issues

 related to the divorce: It called for plaintiff to receive 50% of Clark's retirement account in an

 estimated amount of$18,000 and allowed her to keep a 2009 Honda CR-V that was titled in

 Clark's name. Clark and plaintiff would have six months to agree on a division of all marital

 furnishings and, in the event of disagreement, could "reopen this matter and by notice present the

 issues to the Court." Clark would be obligated to pay plaintiff $667 per month, for a period of

 ten years, in spousal support, and plaintiff would be obligated to pay Clark $4 I 2 per month in

 child support until M.F.C. no longer qualified. 12 See Defs.' Memo. Ex. B [Dkt. No. 10-2] 8-14.

        After the attorneys had announced the agreement, the court noticed that plaintiff was not

 in attendance and expressed concerns about her absence, asking Poe whether plaintiff was

 "aware of all of these terms"-to which Poe cryptically responded, "She gave me authority,


 12
    Under Virginia law, the support obligation continues until the child's eighteenth birthday and
 remains in effect "for any child over the age of 18 who is (i) a full-time high school student,
 (ii) not self-supporting, and (iii) living in the home of the party seeking or receiving child
 support until such child reaches the age of 19 or graduates from high school, whichever first
 occurs." Va. Code Ann.§ 20-124.2(C).


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 8 of 31 PageID# 990



 yes." Pl.'s Opp'n Ex. 13 [Dkt. No. 26-4] 9. The court stated that although the parties were not

 strictly required to attend, he "hope[d] it's not the wrong signal." Id. at 10. Poe responded, "I

 don't believe it is, Your Honor." Id. Based on that representation, the court entered the consent

 order Hiss and Poe had prepared. Id.

        Plaintiff claims she was not aware of any agreement, had not authorized any settlement

 on those terms, and was surprised to learn from Clark that the matter had been settled. Two days

 after he had represented to the court that his client had consented to the terms in the consent

 order, Poe emailed plaintiff with "the financial details" of the settlement, stating that he had

 "tried to call [her] after court on [July 10, 2015] but wasn't able to reach [her]." Pl.'s Opp'n

 Ex. 6 [Dkt. No. 25-6]. Plaintiff responded that same day:

        Mike, This is not acceptable to me and I believe [t]hat I am better off having the
        Judge decide!! I authorized you to try to get me more spousal support for a shorter
        time and how that came to this I do not understand. You say the guideline is $660
        for spousal but we were asking for $2,200 and you didn't think that was unlikely
        or unreasonable .... We have an Order that the house was to be sold 13 and my
        name is on the Gift Deed, what is going on! The market value was to be $950,000.
        I was married for EIGHT YEARS and have my name on the title and you say that
        I am only entitled to 10% of the house! I am extremely upset. I gave up my job,
        no one disputes I supported my husband or raised my son! What did you argue
        were my non-monetary contributions? What about my husband's negative non-
        monetary contributions[;] he legally deserted us. 14 Even if you say that I am only

 13
   A pendente lite order entered by the court in October 2014 required Clark to buy out plaintiffs
 interest in the marital home "on mutually acceptable terms on or before 1/15/15" and, in the
 event such terms could not be reached, established that "the property shall be placed on the
 market immediately and sold." Pl. 's Opp'n Ex. 2 [Dkt. No. 25-2] 8. Plaintiff alleges that
 sometime in March 2015, Poe moved on her behalf for an order requiring Clark to show cause
 why the property had not been placed on the market. See Pl.'s Opp'n Ex. 3 [Dkt. No. 25-3]. It is
 unclear what, if anything, resulted from that motion.
 14
   Under Virginia law, "[a]ny spouse who without cause deserts or willfully neglects or refuses
 or fails to provide for the support and maintenance of his or her spouse, and any parent who
 deserts or willfully neglects or refuses or fails to provide for the support and maintenance of his
 or her child under the age of eighteen years of age, ... the spouse, child or children being then
 and there in necessitous circumstances, shall be guilty of a misdemeanor." Va. Code Ann.§ 20-
 61. Willful desertion or abandonment is also a ground for what is known as "absolute" divorce,
 or divorce "a vinculo matrimonii," under Virginia law. Id.§ 20-9l(A)(6).


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 9 of 31 PageID# 991



        entitled to 50% of the equity since my name was put on the title then it still does
        NOT come out to 10%.... I can't believe this!

 Compl. Ex. IV [Dkt. No. 1-4]. The same day, she sent a similar email to Clark with a copy to

 Poe and the guardian ad litem:

        My lawyer just sent me details on what he said was the agreement. I did not
        authorize or have knowledge of these terms. I only knew about the spousal support
        argument and was willing to take more money over a shorter time but I DO NOT
        approve the agreement and have let my attorney know the same. We were married
        for eight years and I stayed home with [M.F.C.] as a baby and my name is on the
        Gift Deed and you only think that I am entitled to 10% of the market value! I don't
        have words to describe how this makes me feel. Better Judge Fiore decide the
        division [because] it couldn't be WORSE for me!

 Id.; see also Pl.'s Opp'n Ex. 14 [Dkt. No. 26-5] (additional emails between Poe and plaintiff).

        Plaintiff asked Poe to call chambers immediately and inform Judge Fiore "that there was

 no settlement." Compl. 5. He refused. Id. Plaintiff also protests that Poe failed to object to any

 of the provisions of the settlement agreement on the record and failed to assist her in noticing an

 appeal of the entry of the consent order, arguing that Poe's actions effectively deprived her of the

 chance to seek appellate review of any issues relating to spousal support or equitable

 distribution. See id. at 6.

         Poe ultimately agreed to file a motion for reconsideration on plaintiffs behalf, and a

 hearing on that motion was held before Judge Fiore on September 11, 2015. Poe asked the court

 to reconsider the amount of child support owed, arguing that the court's prior finding that

 plaintiffs income was $20,000 was unjustified in light of the evidence. Pl. 's Opp'n Ex. 6 [Dkt.

 No. 25-6]. He also argued that Clark's income should have been "at least $100,000 per year"



 The complaint alleges that plaintiff urged Poe to argue desertion throughout the divorce
 proceedings, claiming that she and M.F.C. had suffered "economic and emotional distress" as a
 result of Clark's abandonment. Compl. 8. Plaintiff claims that Poe "intentionally disregarded"
 her direction, which in turn "weakened [her] case and proximately caused [her] economic and
 emotional damages." Id. at 8-9.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 10 of 31 PageID# 992



 instead of the $70,000 found by the court; that Clark should have been ordered to pay "at least

 $1,500 per month" in spousal support given plaintiffs "dire" financial situation; and that the

 court should reconsider its findings "as to [Clark's] separate contributions made to the marital

 residence." Id. The court rejected each of those arguments. Id. Poe then yielded the podium to

 plaintiff, who addressed the court on her own behalf:

        MS. CLARK: ... [W]hat I need to tell you, Your Honor, is that although I did
        agree to-I did want my lawyer to settle my case the best way he could, I was not
        made aware in advance of the buy out provisions or any of the specific terms ....

        So I would ask that, as I was not aware of any of these particular terms and did not
        agree to them ... and this has been my first opportunity before the court to tell the
        court this matter, I believe it should be addressed and I should not ... be held to an
        agreement with terms I did not even know about until the weekend after everything
        was done.

        THE COURT: All right. So what are you asking the court to do with regard to the
        marital home?

        MS. CLARK: ... I'm asking Your Honor to consider me leaving my employment,
        and me being the primary care for my child for those years, as a significant non-
        monetary contribution.

        And with regard to the marital house: I relied upon the marital house. I had given
        up my career. I had no retirement. ...

        . . . It was supposed to be our house; I relied on that. Had I known that it was just
        going to be something that he would misinform the court about at trial, I'd-

        THE COURT: All right. Well, the court needed to adjudicate the equitable
        distribution, which, of course, included the marital home. And the court considered
        all the necessary elements that were presented in the record. And I see no reason
        why the court's finding and order shall be altered at this time.

        Are there any other issues to be addressed?

        MS. CLARK: Well, yes. I didn't°know the terms of the consent order.

        THE COURT: I'm sorry, ma'am?

        MS. CLARK: I didn't know the terms of the order.

        THE COURT: Okay. Well the order was submitted to the court by your counsel.



                                                  10
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 11 of 31 PageID# 993



         All right. Any other issues, besides the marital residence, to address?

         MS. CLARK: Well, yes. Because specifically, Your Honor, in the transcript you
         asked if the specific terms of the agreement had been made known to me. And they
         were not. So that was a relevant question.

         THE COURT: All right. Okay, anything further?

 Id. The court did not express any interest in exploring the issue further-when plaintiff

 attempted to speak toward the end of the hearing, Judge Fiore responded, "You may speak

 through your counsel," id.-but vacated the existing consent decree after finding that Poe and

 Hiss disagreed about one of its terms, instructing the parties to submit a corrected version in one

 week. Id.; see Pl.'s Opp'n Ex. 7 [Dkt. No. 25-7] (finding that the decree prepared and submitted

 by Poe and Hiss had been "sufficiently questioned as to accuracy" so as to merit vacatur).

         Hiss and Poe made one change to the final divorce decree after the September 11 hearing,

 removing from the decree a statement that plaintiff had "agree[ d]" to its spousal support

 provisions and substituting a note that "the fixed spousal support amount and duration [were

 reached] as a stipulation between counsel." Req. to Respond to Defs.' Br. in Supp. of Their Mot.

 to Dismiss Ex. II [Dkt. No. 28-2]. Although plaintiff continued to insist that the slate be wiped

 clean so that she could participate in the negotiations, Hiss sent a letter to Poe expressly stating

 that "there w[ould] be no renegotiating in this matter." Id. Ultimately, the final divorce decree

 entered by the court on December 1, 2015 contained the same provisions to which plaintiff had

 been objecting since July. See Defs.' Memo. Ex. B [Dkt. No. 10-2]. Nothing indicates that the

 court arrived at these terms through an independent analysis; rather, plaintiff alleges that the

 court believed it was issuing a decree that reflected the parties' (or at least the lawyers') amicable

  resolution of the issues.

         After the final divorce decree was entered, plaintiff hired a new attorney in hopes of

  suing Poe and the Law Office to recover damages stemming from the way Poe had handled the


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 12 of 31 PageID# 994



 divorce proceedings. The attorney apparently advised plaintiff not to file suit and not to contact

 the state bar. Nonetheless, in March 2017, plaintiff submitted a formal complaint against Poe to

 the state bar. See Pl. 's Opp'n Ex. 8 [0kt. No. 25-8]; see also id. Ex. 9 [Dkt. No. 26] (laying out

 the reasons for the complaint). That complaint was unsuccessful. See Pl. 's Opp'n 5.

        B. Procedural History

        The complaint filed in this court is divided into six factually distinct chapters that are

 misleadingly labeled "causes of action," each of which involves a different course of conduct by

 Poe-and each of which (plaintiff alleges) gives rise to a variety of claims in tort and contract for

 which defendants are liable. 15 First is Poe's decision to "settle[] plaintiff[']s case without her

 knowledge or consent." Compl. 2. 16 Second is Poe's decision not to argue statutory desertion

 under section 20-9l(A)(6) of the Virginia Code. Id. at 7-9. 17 Third is Poe's decision not to

 submit into evidence during the custody-related show cause hearing videos plaintiff had taken of

 M.F .C. before scheduled visitation times with his father. Id. at 9-10. 18 Fourth is Poe's failure to

 assist plaintiff with obtaining a psychiatric or psychological evaluation ahead of the final custody




 15
   Some of the statements in the complaint-including, for instance, that "[d]efendants failed to
 properly object to evidence presented at trial by ... Clark or to cross-examine in a zealous
 manner," Compl. 7, or that defendants had "no plan or strategy, no thorough analysis of
 precedent or relevant statutes," id. at 8-are so devoid of specific factual allegations that they
 cannot be construed to give rise to independent legal claims at all.
  16
   The complaint alleges that this decision gives rise to claims for legal malpractice, breach of
 contract, breach of fiduciary duties, loss of chance, fraud, and intentional infliction of emotional
 distress. See id. at 2.
  17
   The complaint alleges that this decision gives rise to claims for legal malpractice, breach of
 contract, and breach of fiduciary duties. See id. at 7.
  18
   The complaint alleges that this decision gives rise to claims for legal malpractice, breach of
 contract, and breach of fiduciary duties. See id. at 9.


                                                   12
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 13 of 31 PageID# 995



 determination. Id. at 10-13. 19 Fifth is Poe's failure to include in the consent order a provision

 guaranteeing that spousal support would continue even after remarriage. Id. at 13-14. 20 And

 sixth is Poe's failure to include specific terms providing for division of all marital property in the

 consent order. Id. at 14-15. 21 Altogether, plaintiff seeks $1.5 million in compensatory and

 punitive damages, "plus an award of costs, interest, and such other relief that the Court may

 deem appropriate." Id. at 16.

                                           II. ANALYSIS

         Defendants' motion to dismiss argues that plaintiffs complaint suffers from fatal flaws.

 Specifically, they argue that plaintiffs tort claims are precluded as a matter of state law and are

 time barred in any event, and that her legal malpractice claims amount to little more than abstract

 disagreements with Poe's strategic legal choices. Defendants are correct that most of the

 complaint cannot survive their Rule l 2(b)(6) motion; however, the complaint states a plausible

 claim for legal malpractice stemming from Poe's decision to settle the case without securing

 plaintiffs consent, thereby failing to advance viable arguments on her behalf and to preserve her

 right to appeal. Accordingly, defendants' motion will be granted in part and denied in part.

         A. Standard of Review

         A complaint should be dismissed under Rule 12(b)(6) if it "fail[s] to state a claim upon

 which relief can be granted." Fed. R. Civ. P. 12(b)(6). To survive a Rule 12(b)(6) motion, "a




  19
    The complaint alleges that this failure gives rise to claims for legal malpractice, breach of
 contract, breach of fiduciary duties, intentional and negligent infliction of emotional distress, and
 fraud. See id. at 10.
 20
    The complaint alleges that this failure gives rise to claims for legal malpractice, negligence,
  breach of contract, and breach of fiduciary duties. See id. at 13.
 21
    The complaint alleges that this failure gives rise to claims for legal malpractice, negligence,
  breach of contract, and breach of fiduciary duties. See id. at 14.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 14 of 31 PageID# 996



 complaint must contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

 plausible on its face."' Ashcroft v. lg bal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly .. 550 U.S. 544, 570 (2007)). "A claim has facial plausibility when the plaintiff pleads

 factual content that allows the court to draw the reasonable inference that the defendant is liable

 for the misconduct alleged." Id. The plausibility standard "is not akin to a 'probability

 requirement,' but it asks for more than a sheer possibility that a defendant has acted unlawfully."

 Id. (quoting Twombly. 550 U.S. at 570). The Court must "assume the facts alleged in the

 complaint are true and draw all reasonable factual inferences in [the plaintiffs] favor," Burbach

 Broad. Co. of Del. v. Elkins Radio Corp., 278 F.3d 401, 406 (4th Cir. 2002), but only to the

 extent those allegations pertain to facts rather than legal conclusions, Igbal, 556 U.S. at 678-79.

         Pro se pleadings are "to be liberally construed" and "must be held to less stringent

 standards than formal pleadings drafted by lawyers." Estelle v. Gamble, 429 U.S. 97, 106 (1976)

 (internal quotation marks and citation omitted). Nonetheless, this liberal-construction principle

 is "not ... without limits," Beaudett v. City of Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985),

 and a prose complaint must contain "more than labels and conclusions," Giarratano v. Johnson,·

 521 F .3d 298, 304 n.5 (4th Cir. 2008) (quoting Twombly, 550 U.S. at 555). See also Suggs v.

 M&T Bank, 230 F. Supp. 3d 458,461 (E.D. Va. 2017) ("Courts do not need to discern the

 unexpressed intent of the [prose] plaintiff or to conjure up issues on the plaintiffs behalf.").

         B. State Tort Law Claims

         The complaint alleges that in the course of representing plaintiff throughout her divorce

 proceedings, Poe committed several state-law torts for which he and the Law Office are liable.




                                                   14
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 15 of 31 PageID# 997



 Plaintiff argues that these torts-which include negligence, 22 breach of fiduciary duty, 23 fraud, 24

 fraud upon the court, 25 loss of chance,26 and intentional and negligent infliction of emotional




 22
   "The elements of an action in negligence are a legal duty on the part of the defendant, breach
 of that duty, and a showing that such breach was the proximate cause of injury, resulting in
 damage to the plaintiff." Blue Ridge Serv. Corp. of Va. v. Saxon Shoes, Inc., 824 S.E.2d 55, 62
 (Va. 2006). Negligence actions in Virginia are governed by a two-year statute of limitations, and
 the cause of action accrues at the time of injury. Tohotcheu v. Harris Teeter, Inc., No. 1: 11-cv-
 767, 2011 WL 5873074, at *4 (E.D. Va. Nov. 22, 2011) (citing Va. Code Ann.§ 8.01-243).
 23
   "The elements of a claim for breach of fiduciary duty are (1) a fiduciary duty, (2) breach, and
 (3) damages resulting from the breach." Informatics Applications Grp., Inc. v. Shkolnikov,
 836 F. Supp. 2d 400,424 (E.D. Va. 2011). Such actions are subject to a two-year statute of
 limitations that "accrues on the date of the breach, not the date of discovery." Goldstein v.
 Malcolm G. Fries & Assocs., Inc., 72 F. Supp. 2d 620, 625-26 (E.D. Va. 1999).
 24
   "A party alleging fraud must prove by clear and convincing evidence ( 1) a false representation,
 (2) of a material fact, (3) made intentionally and knowingly, (4) with intent to mislead,
 (5) reliance by the party misled, and (6) resulting damage to him." Van Deusen v. Snead,
 441 S.E.2d 207, 209 (Va. 1994) (citation omitted). Fraud actions are also governed by a two-
 year statute of limitations, with the cause of action accruing "when the fraud 'is discovered or by
 the exercise of due diligence reasonably should have been discovered."' Mullins v. Wells Fargo
 Bank, N.A., No. 3:16-cv-841, 2017 WL 1202656, at *6 (E.D. Va. Mar. 30, 2017) (quoting Va.
 Code Ann. §§ 8.01-243, -249).
 25
    There is no recognized cause of action for "fraud upon the court" under Virginia law. Rather,
 a state statute authorizes courts to set aside a judgment or decree upon a showing of "fraud on the
 court." Va. Code Ann. § 8.0l-428(A); see also Jennings v. Jennings, 495 S.E.2d 544, 545-46
 (Va. Ct. App. 1998) (observing that parties seeking to set aside a court's decree for "fraud upon
 the court" must demonstrate such fraud by "clear and convincing evidence"). Any motion for
 relief from a judgment based on such fraud must be made "within two years from the date of the
 judgment." Va. Code Ann. § 8.0l-428(A). Plaintiff has not asked this Court to set aside the
 final divorce decree entered in December 2015.
 26
    The loss-of-chance doctrine provides that "[w]hen a defendant's negligent action or inaction
 has effectively terminated a person's chance of survival, it does not lie in the defendant's mouth
 to raise conjectures as to the measure of the chances that he has put beyond the possibility of
 realization. If there was any substantial possibility of survival and the defendant destroyed it, he
 is answerable." Irby v. Richmond Pediatric Assocs., Inc., No. LR-4601-1, 1989 WL 646370, at
 *2 (Va. Cir. Ct. Aug. 31, 1989) (quoting Hicks v. United States, 368 F.2d 626,632 (4th Cir.
 1966)). The doctrine "is not a separate cause of ... action," Kennedy v. Wheeler, No. LX-142-
 3, 1998 WL 972142, at * 1 (Va. Cir. Ct. Mar. 19, 1998), but rather relates to questions of
 proximate causation and evidence of damages in wrongful death cases, see Straus v. McDonald,
 No. 222439, 2005 WL 832168, at *2-3 (Va. Cir. Ct. Mar. 4, 2005). As the Supreme Court of
 Virginia has recognized, the doctrine has limited applicability "outside the context of medical


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 16 of 31 PageID# 998



 distress27-are "independent" of her legal malpractice claim. Pl.'s Opp'n 7. Defendants respond

 that these claims are precluded under Virginia law in light of plaintiffs legal malpractice claims

 and thus must be dismissed.

        Plaintiffs claims in tort are precluded as a matter of Virginia law. The relationship

 between plaintiff and defendants was contractual in nature: She hired them to perform legal

 services related to her divorce proceedings, and a written retainer agreement governed that

 representation. By virtue of that relationship, defendants, as legal professionals, owed plaintiff

 certain duties of care. See O'Connell v. Bean, 556 S.E.2d 741, 743 (Va. 2002) ("Implicit in a

 professional' s contract of employment is the professional' s duty to exercise the care of those

 ordinarily skilled in the business and to exercise a reasonable degree of care, skill, and dispatch

 in carrying out the business for which he is employed." (internal quotation marks and citations

 omitted)). Although breaches of those duties of care are formally torts, the duties themselves




 malpractice cases," Wagoner v. Commonwealth, 770 S.E.2d 479, 484 n.3 (Va. 2015), and
 certainly has no place here.
 27
   To state a claim for negligent infliction of emotional distress under Virginia law, a plaintiff
 must allege "(1) physical injury (2) proximately caused (3) by negligent conduct (4) wantonly
 inflicted by defendants (5) upon plaintiff." Guerrero v. Deane, No. l:09-cv-1313, 2010 WL
 670089, at *16 (E.D. Va. Feb. 19, 2010); see Hughes v. Moore, 197 S.E.2d 214,219 (Va. 1973)
 ("[W]here conduct is merely negligent, not willful, wanton or vindictive, and physical impact is
 lacking, there can be no recovery for emotional disturbance alone.").
 To prevail under a theory of intentional infliction of emotional distress-a tort that "is not
 favored in the law, because there are inherent problems in proving a claim alleging injury to the
 mind or emotions in the absence of accompanying physical injury"-a plaintiff must show, by
 clear and convincing evidence, "that 1) the wrongdoer's conduct was intentional or reckless;
 2) the conduct was outrageous or intolerable; 3) there was a causal connection between the
 wrongdoer's conduct and the resulting emotional distress; and 4) the resulting emotional distress
 was severe." Supervalu, Inc. v. Johnson, 666 S.E.2d 335, 343 (Va. 2008) (internal quotation
 marks and citation omitted).
 Both of these causes of action-like "every action for personal injuries, whatever the theory of
 recovery," Va. Code Ann.§ 8.0l-243(A)-are governed by a two-year statute of limitations and
 accrue as of "the date the injury is sustained," id.§ 8.01-230.


                                                 16
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 17 of 31 PageID# 999



 "arise under contract law," Hewlette v. Hovis, 318 F. Supp. 2d 332, 335-36 (E.D. Va. 2004),

 and any malpractice claims stemming from them are funneled into breach-of-contract actions,

 see Augusta Mut. Ins. Co. v. Mason, 645 S.E.2d 290, 293-94 (Va. 2007). To be sure, "a single

 act or occurrence can, in certain circumstances, support causes of action both for breach of

 contract and for breach of a duty arising in tort"-but only where the "duty tortiously or

 negligently breached [is] a common law duty, not one existing between the parties solely by

 virtue of the contract." Augusta Mut., 645 S.E.2d at 293-94 (quoting Foreign Mission Bd. of

 the S. Baptist Convention v. Wade, 409 S.E.2d 144, 148 (Va. 1991 )). Contrary to plaintiffs

 argument that she is seeking relief from someone who just "happens to be an attorney," PL 's

 Opp'n 7,28 the only duties of care implicated by the complaint stem from defendants'

 professional obligations to her under the retainer agreement, and any alleged violations of

 those duties must be analyzed through the lens of a malpractice action. 29 Accordingly, any




 28
    In her opposition, plaintiff repeatedly insists she is relying on "duties [that] exist outside of the
 attorney-client relationship," Pl.'s Opp'n 7; accord id. at 14, 17-18; however, at no point does
 she identify what those duties are or from where they spring.
 29
    Plaintiff cites Goodstein v. Weinberg~ 245 S.E.2d 140 (Va. 1978), for the proposition that "a
 client may sue [an] attorney in tort for fraud." PL 's Opp'n 7. Goodstein recognizes that in
 "exceptional cases," where an attorney's alleged breach "amounts to an independent, willful
 tort, ... the plaintiff has a right to elect whether he will proceed in tort or upon the contract."
 245 S.E.2d at 143. This line of precedent is of no help to plaintiff. First, the case on which
 Goodstein relies for its rule emphasizes that the right to elect applies only where there are
 "proper allegations of malice, wantonness, or oppression." See Wright v. Everett, 90 S.E.2d 855,
 860 (Va. 1956). Although the complaint contains conclusory accusations that defendants
 behaved with malice, see, e.g., Comp!. 2 ("Malice Aforethought"), the factual allegations
 themselves do not support those accusations. And in any event, the rule to which plaintiff points
 is one of election-that is, it at most allows a litigant to select either tort or contract as the basis
 for the suit. Here, plaintiff has attempted to advance claims under both theories. As discussed
 below, it is no surprise that plaintiff is attempting to thread the needle between the two theories:
 Her malpractice claims are timely but offer limited damages, whereas her tort claims offer the
 possibility of additional damages but are untimely.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 18 of 31 PageID# 1000



  separately pleaded tort claims are duplicative of plaintiffs legal malpractice claim and must be

  dismissed. 30

         Plaintiffs tort claims also fail for the independent reason that they are time barred.

  Based on the allegations in her complaint, plaintiff was aware of every one of the actions she

  claims was tortious-including Poe's decision to settle the case without her consent, his refusal

  to present favorable evidence and arguments during the proceedings, his unwillingness to help

  plaintiff secure a psychiatric evaluation before the trial, and his decision not to include certain

  provisions in the consent order-by no later than mid-July 2015. As defendants point out, Defs.'

  Memo. 9, the latest date plaintiffs tort claims could be said to accrue would be December 1,

  2015, the date of entry of the final decree, see Defs.' Memo. Ex. B [Dkt. No. 10-2] 15. But she

  did not file this lawsuit until late November 2018, nearly three years later and nearly one year

  after the two-year limitations period had expired, which renders these claims untimely. 31




  30
    One consequence of this decision is a necessary limitation on the types of damages plaintiff
  may seek to recover. See, e.g., Smith v. McLaughlin, 769 S.E.2d 7, 19 (Va. 2015) ("[T]he
  contractual nature of the cause of action defines the recoverable damages so that 'punitive
  damages may not be awarded' in a legal malpractice claim 'in the absence of an independent,
  willful tort giving rise to such damages."' (quoting O'Connell v. Bean, 556 S.E.2d 741, 743 (Va.
  2002)); Sunrise Continuing Care, LLC v. Wright, 671 S.E.2d 132, 156 (Va. 2009) ("As a general
  rule, damages for breach of contracts are limited to the pecuniary loss sustained." (quoting
  Kamlar Corp. v. Haley. 299 S.E.2d 514,517 (Va. 1983)).
  31
     In plaintiffs opposition to the motion to dismiss, she argues that the complaint also pleaded "a
  claim for tortious conversion of property." Pl.'s Opp'n 15; see id. at 17, 23 (arguing that
  defendants committed conversion by "assuming control over ... her interest in the marital
  home ... and selling it to [Clark]"). "Under Virginia law, the tort of conversion constitutes 'any
  wrongful exercise or assumption of authority ... over another's goods, depriving him of their
  possession; [and any] act of dominion wrongfully exerted over property in denial of the owner's
  right, or inconsistent with it."' Microstrategy, Inc. v. Netsolve, Inc., 368 F. Supp. 2d 533, 536
  (E.D. Va. 2005) (alterations in original) (footnote omitted) (quoting United Leasing Corp. v.
  Thrift Ins. Corp., 440 S.E.2d 902, 905 (Va. 1994)). Because conversion "involves an injury to
  property, not to a person," it is subject to a five-year statute of limitations, Dunn v. City of
  Williamsburg. No. 7123, 1995 WL 17016539, at *5 (Va. Cir. Ct. Jan. 31, 1995) (citing Baderv.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 19 of 31 PageID# 1001



         Plaintiffs only response to defendants' statute-of-limitations argument is that "a jury

  could find that [she] did exercise due diligence and that the statute of limitations should be

  tolled," and she claims that this district has denied motions to dismiss on similar grounds in the

  past. Pl.'s Opp'n 1 (citing McPike v. Zero-Gravity Holdings, Inc., 280 F. Supp. 3d 800 (E.D.

  Va. 2017)). Plaintiff is incorrect. For one thing, although the statute of limitations, as an

  affirmative defense, is sometimes not fit for resolution at the Rule l 2(b)(6) stage, dismissal is

  proper where "the face of the complaint clearly reveals the existence of a meritorious affirmative

  defense." Chisolm v. T.J.X. Cos., 286 F. Supp. 2d 736, 739 (E.D. Va. 2003) (quoting Brooks v.

  City of Winston-Salem, 85 F.3d 178, 181 (4th Cir. 1996)); see McPike, 280 F. Supp. 3d at 807

  ("[A] statute of limitations question ... may be resolved on a threshold motion to dismiss ... if

  all the facts necessary for resolution of the motion appear on the face of the complaint or are

  otherwise indisputable."). Here, the complaint clearly alleges that the injuries occurred, and that

  plaintiff was aware of those injuries, more than two years before she filed suit. Moreover, there



  Cent. Fidelity Bank, 427 S.E.2d 184, 186 (Va. 1993)), and thus plaintiff argues that at least this
  tort claim is not time barred.
  There are two issues with this argument. First, although her 17-page complaint does in one
  instance mention "common law conversion-duty not to sell the property of others," Compl. 2,
  plaintiff did not identify conversion as a distinct cause of action in any of her counts or headings
  and did not otherwise give notice to defendants that she was asserting a claim for conversion.
  Unsurprisingly, defendants' motion to dismiss recognized that plaintiff had advanced claims for
  "fraud, breach of fiduciary duty, ... negligence, loss of chance, and negligent/intentional
  infliction of emotional distress," Defs.' Memo. 7, but did not identify conversion as one of her
  claims. See Defs.' Reply Br. in Supp. of Their Mot. to Dismiss [0kt. No. 27] 4-5 (characterizing
  the conversion claim as "newly articulated"). "It is well-established that parties cannot amend
  their complaints through briefing or oral advocacy." S. Walk at Broadlands Homeowner's
  Ass'n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184-85 (4th Cir. 2013). Second,
  even if plaintiffs complaint is generously read to have alleged a conversion claim, that claim
  would still be barred. The gist of the conversion claim is that Poe exceeded the scope of his
  authority as her agent in signing the consent order on her behalf. Thus, it is inseparable from her
  legal malpractice claim-which is also governed by a five-year statute of limitations, and which
  is addressed below.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 20 of 31 PageID# 1002



  is no general principle that "due diligence" justifies tolling a statute oflimitations. 32 McPike, on

  which plaintiff relies, addressed only the narrow rule under Virginia law that for certain actions

  involving misrepresentation or fraud, the cause of action is deemed to accrue when the injury "is

  discovered or by the exercise of due diligence reasonably should have been discovered." See

  280 F. Supp. 3d at 806-08 (citing Va. Code Ann.§ 8.0l-249(A)). That rule does not reach most

  of plaintiffs tort claims and does not save her fraud claims in any event because-according to

  her own allegations-she had already "discovered" each of the defects identified in her

  complaint more than two years before the complaint was filed. Accordingly, plaintiffs

  argument is unavailing, and her common-law tort claims will be dismissed. 33

         C. Malpractice Claims

         Under Virginia law, "[a] cause of action for legal malpractice has three separate

  elements: I) the existence of an attorney-client relationship creating a duty; 2) a breach of that

  duty by the attorney; and 3) damages that were proximately caused by the attorney's breach of

  duty." Williams v. Joynes, 677 S.E.2d 261,264 (Va. 2009). Legal malpractice actions often

  "involve[] a 'case within the case,"' in that the plaintiff must present sufficient evidence with

  respect to the subject of the underlying legal representation "to convince the trier of fact in the

  malpractice case that, in the absence of the attorney's alleged negligence, the plaintiff would



  32
    The conditions that may toll a statute of limitations are set out in section 8.01-229 of the
  Virginia Code. No part of that section applies here. Plaintiff has not alleged, for example, that
  defendants intentionally misled her in order "to obstruct the filing of an action," Va. Code Ann.
  § 8.0l-229(D); see also Schmidt v. Household Finance Corp., II, 661 S.E.2d 834, 840 (Va. 2008)
  (discussing the principle of equitable tolling applied in federal court "where the complainant has
  been induced or tricked by his adversary's misconduct into allowing the filing deadline to pass"
  (quoting Irwin v. Dep't of Veterans Affairs, 489 U.S. 89, 96 (1990))), or that she was
  incapacitated during the relevant period, Va. Code Ann.§ 8.0l-229(A)(2)(b).
  33
     Because plaintiffs complaint is divided into factual chapters rather than by cause of action, it
  is not possible to identify specific counts that must be dismissed.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 21 of 31 PageID# 1003



  have prevailed"--or at least obtained a measurably better result-"in the underlying action." Id.;

  see also Jones v. Link, 493 F. Supp. 3d 765, 769 (E.D. Va. 2007) ("[N]egligence is actionable

  only upon a determination that the underlying claim would have been resolved differently but for

  the attorney's negligence." (citation omitted) (emphasis added)).

         Plaintiff identifies discrete actions or omissions by Poe that she claims give rise to

  malpractice liability. Each is addressed in turn. 34

              1. Settlement Without Plaintiffs Consent

         In her own words, the "central issue" or "crux" of this lawsuit is plaintiffs claim that Poe

  settled her case without her consent, saddling her with an unfavorable marital property division

  and depriving her of any right to appeal. Pl.'s Opp'n 24. At this stage of the litigation, the Court

  expresses no views as to whether this claim will ultimately prevail. All that is presently required

  is to determine whether the complaint states a claim for legal malpractice that is plausible on its

  face. Because it does, defendants' motion to dismiss will be denied as to this allegation.

          An agent (here, Poe) may take actions that are binding on the principal (plaintiff) in only

  a limited number of ways. First, the agent may act with "actual authority"-that is, where "the

  agent reasonably believes, in accordance with the principal's manifestations to the agent, that the

  principal wishes the agent so to act," Restatement (Third) of Agency§ 2.01 (Am. Law Inst.

  2005)-which may be actual or implied, see id. § 2.02. Second, the agent may act with

  "apparent authority," which binds a principal to a third party "when a third party reasonably




  34
    "[A]lthough legal malpractice actions sound in tort, it is the contract that gives rise to the
  duty," and accordingly "[t]he statute of limitations for legal malpractice actions is the same as
  those for breach of contract," Shipman v. Kruck, 593 S.E.2d 319, 322 (Va. 2004)-three years
  for oral agreements and (as relevant here) five years for written contracts, Va. Code Ann.§ 8.01-
  246(2), (4). Accordingly, plaintiffs legal malpractice claims, unlike her independently pleaded
  tort claims, are not time barred.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 22 of 31 PageID# 1004



  believes the actor has authority to act on behalf of the principal and that belief is traceable to the

  principal's manifestations." Id. § 2.03. Third, an action taken by a putative agent without actual

  or apparent authority may nonetheless be binding on the principal if the principal subsequently

  ratifies the action, see id. § 4.01, which "retroactively creates the effects of actual authority," id.

  § 4.02(1). At least as alleged in plaintiffs complaint, none of the foregoing categories is in play.

  She alleges that she did not give Poe actual authority to settle the case on those specific terms, or

  more generally on any terms he felt were appropriate, without at least reviewing the material

  elements of any possible settlement with her. 35 There are no allegations that plaintiff held Poe

  out as possessing blanket authority to settle the case on her behalf, and Virginia law "makes clear

  that an attorney, simply by reason of his or her employment, does not have [apparent] authority

  to compromise his or her client's claim," and that "[t]he authority of the attorney to bind his

  client cannot be proved by his or her declarations, acts, or conduct alone," Alper v. Wiley~ No.

  40366, 2010 WL 11020184, at *2 (Va. Cir. Ct. Sept. 17, 2010). And far from retroactively

  ratifying Poe's decision, plaintiffs immediate objection to the settlement makes clear that she

  rejected Poe's actions in the strongest terms. For these reasons, the complaint plausibly alleges

  that Poe settled the case without having authority to do so.

          Defendants do not dispute that an attorney's unilateral decision to settle a case on the

  client's behalf without the client's consent can give rise to a claim for legal malpractice. Instead,

  they argue that plaintiffs claim is fatally flawed because she cannot show that any more



  35
     Several of the documents attached to the complaint and the parties' memoranda make clear
  that plaintiff did give Poe some sort of an instruction to try to settle the case or secure favorable
  terms, for instance by obtaining a higher amount of spousal support over a shorter number of
  years. But assuming plaintiffs allegations to be true and drawing all reasonable inferences in
  her favor, the complaint alleges that Poe had received neither express nor implied consent to
  agree to only 10% of the estimated value of the marital home.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 23 of 31 PageID# 1005



  favorable resolution of the issues related to her divorce was possible, and even if she could,

  Poe's decisions would nonetheless be protected from scrutiny by what defendants refer to as the

  "attorney judgment" rule. Neither argument is convincing at the pleading stage.

         Defendants argue that no more favorable resolution of the marital property division was

  possible. But as plaintiffs' allegations and the attached documents from the state court record

  indicate, Poe argued on multiple occasions that Virginia law clearly supported plaintiffs right to

  a higher percentage of the marital home in light of the 2008 gift deed than would be provided

  under a traditional Brandenburg calculation. See id.; see also id. at 214-15 (asking for 50% of

  the equity in the marital property and pointing the court to Utsch v. Utsch, 581 S.E.2d 507 (Va.

  2003)). 36 By agreeing to the settlement, Poe limited plaintiffs recovery to no more than 10% of

  the equity in the marital home. 37 As such, plaintiff has plausibly alleged that Poe's decision to

  settle the case without her consent and for a lower amount than what she may have been able to

  obtain was the proximate and but-for cause of pecuniary damages for which defendants may be

  liable, and accordingly this malpractice claim will not be dismissed. 38


  36
    At trial, Judge Fiore heard testimony from Clark that he had no bona fide intent to convey a
  one-half interest in the property to plaintiff in 2008 and that he signed the gift deed without
  realizing what he was doing. See, e.g., Defs.' Memo. Ex. A [Dkt. No. 10-1] 137-38, 148-49. In
  response, Poe argued that under Utsch, Clark's donative intent was unambiguous from the face
  of the deed, and accordingly parol evidence related to the formation of the deed should have
  been deemed inadmissible. See id. at 149-50, 214-15.
  Defendants also argue that Judge Fiore had already ruled that the division would be based on the
  Brandenburg formula. Not so. See Defs.' Memo. Ex. A [Dkt. No. 10-1] 236,240.
  37
    Defendants suggest that the only question relevant to the causation analysis is whether Clark
  would have agreed to a different division. See, e.g., Defs.' Memo. 14. But that was not the only
  option because if the parties could not agree on a settlement, the court would have had to resolve
  outstanding issues, and either party could have appealed the court's decision.
  38
    In their reply, defendants argued that the court's vacatur of the existing consent decree in
  September 2015 ruptures any causal connection between the original consent order and the final
  divorce decree, thereby depriving plaintiff of the ability to show causation. This argument is
  unavailing because Judge Fiore made clear that the vacatur was limited to a narrow issue


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 24 of 31 PageID# 1006



             2. Failure to Argue Desertion

         What plaintiff describes as the Second Cause of Action relates to Poe's failure or refusal

  to argue that Clark had legally deserted her and M.F.C. Compl. 7-8. She claims that although

  she highlighted the "economic and emotional distress" she and the child experienced as a result

  of that abandonment, see, e.g., Compl. Ex. VI [Dkt. No. 1-6], Poe "intentionally disregarded" her

  direction to "strengthen" the case by presenting evidence or arguments on that point. See

  Compl. at 8-9 ("As Statutory Desertion is a misdemeanor in the Commonwealth it was material

  to the case .... "); see also id. at 8 ("Even a lay person [sic] can see that the pleading of

  Desertion would have had a significant impact on Plaintiffs case from the outset .... ").

         Under Virginia law, willful desertion is one of several grounds for what is known as a

  divorce "a vinculo matrimonii"-that is, from the bond of matrimony. Va. Code Ann.§ 20-

  9l(A). Evidence of abandonment or neglect for over 30 days is deemed to be prima facie

  evidence of willful desertion. See id. § 20-81. Although plaintiff alleges that she pointed Poe to

  these provisions in a September 2014 email she attached to her complaint, Compl. Ex. VI [Dkt.

  No. 1-6], Poe's alleged failure to refer to these provisions had no effect on the divorce because

  the court concluded that a divorce a vinculo matrimonii was appropriate for the independent

  reason that Clark and plaintiff "ha[d] lived separate and apart without any cohabitation and

  without interruption for one year," Va. Code Ann.§ 20-9l(A)(9)(a). See Defs.' Memo. Ex. B

  [Dkt. No. 10-2] 3 ("Plaintiff is entitled to a divorce pursuant to § 20-91 (9) ....").

          Plaintiff also claims that Poe's failure to argue facts relating to desertion caused her

  "damages in the distribution of property and in the Courts' [sic] custody decision which



  separate from plaintiffs allegations in this suit, stating that no further legal argument on the
  issues related to the divorce would be permitted and that plaintiff would remain bound by the
  agreement reached by her counsel. See Pl. 's Opp'n Ex. 6 [Dkt. No. 25-6].


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 25 of 31 PageID# 1007



  determined child support due to Defendants' negligence and emotional distress," Compl. 8-9-

  that is, that she would have received more and would have had to pay less if Judge Fiore had

  heard more evidence related to Clark's alleged desertion.

         Defendants have demonstrated that this legal malpractice claim is not plausible on its

  face. Even assuming the truth of all allegations in plaintiffs complaint, it is far from clear that

  Poe breached any standard of care he owed to plaintiff in failing to argue abandonment. Because

  the couple qualified for an absolute divorce on other grounds, it was unnecessary to argue

  desertion for purposes of section 20-91(A) of the Virginia Code, and the divorce proceeding was

  obviously not an appropriate forum to adjudicate plaintiffs charge that Clark had committed the

  misdemeanor offense of statutory desertion in violation of section 20-61. With respect to other

  issues such as custody and child support, Poe did refer to Clark's desertion in objecting to the

  court's July 2015 custody and visitation order. Pl. 's Opp'n Ex. 5 [Dkt. No. 25-5]. To be sure,

  plaintiff alleges, and the documents attached to her complaint do not contradict, that Poe did not

  cross-examine Clark on his alleged desertion and did not otherwise present evidence related to

  that desertion to the court, at least during the second day of the July 2015 trial. But an attorney's

  decision as to whether to advance a specific argument or conduct a cross-examination is

  inextricably bound up with discretionary matters of strategy and tone. Emphasizing evidence to

  trigger a statutory presumption of willful abandonment, for instance, could conceivably convince

  a court to treat the allegedly abandoned spouse more favorably, but it might also have opened the

  door for Clark to focus on plaintiffs behavior as a reason for his conduct. Because emphasizing

  evidence or arguments related to desertion implicated potential risks as well as benefits, Poe's

  choices are entitled to protection under the attorney judgment rule, which protects an attorney's

  reasonable, even if erroneous, resolution of a strategic dilemma.




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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 26 of 31 PageID# 1008



         Further, even if Poe's choice not to present additional evidence related to the alleged

  desertion were assumed to be a breach of the duty of care he owed to his client, plaintiffs claim

  would still fail to satisfy the causation requirement. The distribution of marital property about

  which she primarily complains was a result of the consent order Poe negotiated and signed on

  her behalf. Because the court had no opportunity to perform an equitable balancing in light of

  the parties' apparent settlement, additional evidence as to desertion would have had no effect.

  To the extent there is any actionable misconduct related to the division of property, it is already

  subsumed within the settlement-without-consent claim discussed above. And nothing in the

  complaint indicates that evidence related to desertion would have had any appreciable effect on

  the court's determination of which parent was better suited to have primary physical custody of

  M.F.C.-a fact underscored by the court's frank assessment of both parents and his serious

  concerns with plaintiffs stability and ability to assist with the child's development-or of how

  much child support would be required. Accordingly, the complaint fails to allege a plausible

  legal malpractice claim with respect to the arguments related to desertion.

             3. Failure to Present Video Evidence at Show Cause Hearing

         Next, plaintiff protests that although she took multiple videos of M.F.C. 's "tantrums"

  ahead of scheduled visitation times with his father, videos which (she claims) contradicts Clark's

  videos "mak[ing] it look like [plaintiff] was keeping [M.F.C.] from his father," Poe failed to

  submit these videos into evidence during a January 2015 show cause hearing. Compl. 9. As a

  result, she claims that Judge Fiore "s[aw] only one side of the story" and consequently ordered

  her to undergo an expensive psychiatric evaluation. Id. at 9-10.

          Even assuming that the complaint accurately describes the videos at issue, the trial record

  shows that Judge Fiore repeatedly stressed the importance of M.F.C.'s maintaining a positive

  relationship with both parents and heard testimony from the guardian ad litem indicating that


                                                   26
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 27 of 31 PageID# 1009



  plaintiff was failing to exert sufficient control over the child's sometimes volatile emotions.

  Given that testimony, plaintiffs videos could just as easily have supported the view that plaintiff

  was not helping to preserve M.F.C. 's relationship with her estranged husband, preferring instead

  to videotape her son's tantrums as ammunition for a future custody battle. A reasonable attorney

  could make the strategic decision not to risk provoking that reaction, and such a decision is

  protected under the attorney judgment rule.

         Additionally, there is a causal chasm between the harm plaintiff alleges (the cost of

  having to secure a psychological evaluation) and the malpractice she identifies (Poe's refusal to

  object or present contradictory evidence at the show cause hearing). Nothing in the complaint

  indicates that Judge Fiore ordered plaintiff to undergo the evaluation because of what he saw in

  Clark's video or that plaintiffs videos would have produced a different result. Plaintiff had been

  seeing a psychiatrist for years, and the guardian ad litem suggested that mental health

  information was necessary to decide custody and visitation issues. It was an inevitability that

  plaintiffs mental health would become an issue in the divorce proceedings. And although

  plaintiff alleges that the evidence at the show cause hearing resulted in her being "found in

  Contempt of Court," she does not claim that her videos would have squarely contradicted Clark's

  argument that she was not complying with the court's pendente lite order. For these reasons, this

  aspect of plaintiffs complaint is legally and factually deficient and will be dismissed.

             4. Lack of Assistance in Securing a Psychiatric Evaluation

          What plaintiff terms the Fourth Cause of Action relates to the psychiatric evaluation she

  was ordered to undergo. Plaintiff alleges she was "eager" to secure the evaluation but was "very

  concerned about how to go about it," both because her insurance did not cover such an

  evaluation and because she was unsure what exactly the evaluation would require. Campi. I 0.

  Plaintiff alleges that she repeatedly asked Poe to call Judge Fiore and/or his clerk to ask what


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 28 of 31 PageID# 1010



  tests were necessary .and whether there was a way to have the court or Clark split some or all of

  the cost, but that Poe refused to approach the court. Id. at 10-11. Plaintiff further alleges that

  although she obtained and submitted a psychiatric report in advance of the divorce trial, the

  report was somehow incomplete, and she suggests that a different report could have produced a

  different custody ruling. See id. at 12 ("Why couldn't Atty. Poe have made one simple phone

  call and then Plaintiff would've had the correct report on time for Court and Custody would have

  gone differently?" (emphasis omitted)).

         This claim runs aground on the causation requirement, as plaintiff cannot adequately

  trace defendants' conduct to any harms she suffered. The documents submitted by the parties

  show that Judge Fiore did not fault plaintiff for any delay or deficiencies with respect to the

  psychiatric report she submitted. To the contrary, although Judge Fiore observed that the report

  did not "provide ... all of the information that's probably out there," he expressly found that it

  contained "certainly enough information ... to reach the conclusions" on custody. Defs.'

  Memo. Ex. A [Dkt. No. 10-1] 222. The custody determination to which plaintiff objects39 was

  based on a host of factors, including not only the psychiatric report but also her conduct during

  the proceedings, her "rambling" and "evasive" testimony at trial, the recommendations of the

  guardian ad litem, and evidence about M.F.C. 's development while under plaintiffs prim~y

  care. See id. at 222-24. Nothing in the complaint indicates what effect a different, or earlier

  submitted, evaluation might have had, and the court made clear that any doubts about "why or

  how [plaintiffs] mental state is interfering or could interfere in the future" would not affect the




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    Plaintiff claims she is entitled to damages in the amount of the total child support she was
  ordered to pay Clark because "child support depends on ... custody." Com pl. 12. She does not
  argue that anything related to the psychiatric evaluation affected the specific amount of child
  support she was ordered to pay.


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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 29 of 31 PageID# 1011



  determination that awarding physical custody to Clark would be in M.F.C.'s best interests. See

  id. at 224-25. In short, the complaint does not allege facts indicating any plausible connection

  between the court's custody determination and Poe's handling of the mental health evaluation,

  and accordingly this aspect of the complaint will be dismissed.

             5. Failure to Include a Provision for Spousal Support to Continue After Marriage

         Under Virginia law, "[u]nless otherwise provided by stipulation or contract, spousal

  support and maintenance shall terminate upon ... remarriage of the spouse receiving support."

  Va. Code Ann.§ 20-109(0). The consent order, and the final decree incorporating that order's

  terms, did not include a provision guaranteeing the continuation of spousal support after

  remarriage. After plaintiff remarried in April 2017, the judge granted Clark's petition to

  terminate spousal support. 40 Plaintiff alleges that Poe's failure to include the spousal support

  continuation provision caused her to "suffer economic harm and emotional distress through the

  loss of much[-]needed spousal support." Compl. 13-14.

         As defendants correctly argue, this claim is purely speculative. Just because a provision

  could have benefitted plaintiff does not mean that Poe was necessarily required to try to include

  it in a proposed settlement. Settlement negotiations involve an open-ended, exploratory process

  requiring attorneys to make difficult, discretionary decisions about which issues to press in an

  ever-changing, path-dependent environment. Further, whether a certain issue should have been

  pressed depends not only on the facts of each case, but also on the prevailing practices in the


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    Plaintiff also suggests that defendants may be liable to her because Clark has sued her to
  recover the support payments he made between April 2017, when she remarried, and December
  2017, when the judge granted his petition for termination of spousal support. Compl. 14. Under
  Virginia law, upon her remarriage, plaintiff had "an affirmative duty to notify [her former
  husband] immediately," and Clark no longer bore any duty to pay. See Va. Code Ann.§ 20-
  109(0). That plaintiff may have received spousal support payments to which she was not
  entitled does not enable her to seek recovery from her former attorney or his firm.


                                                   29
Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 30 of 31 PageID# 1012



  relevant subject area and geography. This is precisely the type of circumstance for which the

  breathing space afforded by the "attorney judgment" principle is so vital.

         Likewise, defendants point out that even assuming Poe breached his professional duties

  to plaintiff by not pressing for a provision guaranteeing continuation of spousal support after

  remarriage, plaintiffs claim still falters because of the causation requirement. Plaintiff was not

  entitled to demand a continuation provision as a matter of right; to the contrary, and as the statute

  makes clear, spousal support is presumptively terminated upon remarriage and continues only

  where the parties reach a contrary agreement, which means that Poe would have had to secure

  the continuation provision as part of his negotiations with opposing counsel. Absolutely nothing

  in the complaint indicates even a plausible chance that Clark or his attorney would have accepted

  such a provision, and the allegation that Clark is pursuing a rebate strongly indicates that he

  would not have agreed to such a term. Accordingly, plaintiff has failed to state a plausible claim

  that the spousal support provision issue was the proximate or but-for cause of any harm she

  suffered, and this legal malpractice claim will be dismissed.

             6. Failure to Specify a Division of Marital Property

         Finally, the complaint alleges that despite plaintiffs frequent "stress[ing ofJ the need to

  specifically divide the marital property inside the marital home" in light of Clark's "malicious

  nature," Poe failed to include such specific provisions in the settlement agreement he negotiated.

  Compl. 15. Instead, the agreement provided that the parties would endeavor to divide the

  property and, if an agreement could not be reached within six months, they could "reopen th[ e]

  matter and by notice present the issues to the Court." See id.; Defs.' Memo. Ex. B [Dkt. No. 10-

  2] 9. Plaintiff alleges that these issues remain unresolved three years later and that she has

  suffered harm in the form of having to repurchase basic household items.




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Case 1:18-cv-01475-LMB-MSN Document 32 Filed 04/11/19 Page 31 of 31 PageID# 1013



          This final portion of the complaint fails to state a viable claim. An attorney is not liable

  for malpractice simply because he made a mistake or refused to follow his client's wishes. To

  prevail, the client must show that but for the attorney's negligent acts, she would have obtained a

  better result. Plaintiff's complaint does not plead facts plausibly indicating proximate causation

  between her alleged injuries and Poe's actions. Indeed, plaintiff's own allegations suggest that

  Clark would never have agreed to a settlement specifically guaranteeing plaintiff a 50/50 split of

  all household items, and Poe of course could not have demanded any pieces of property

  unilaterally. Because attorneys do not act as guarantors responsible for their clients'

  counterparties' decisions whether to settle issues amicably, 41 there is no colorable claim for legal

  malpractice with respect to the division of marital property.

                                        III. CONCLUSION

         For the reasons stated above, defendants' motion to dismiss will be DENIED as to only

  the legal malpractice claim based on Poe's alleged decision to agree to a settlement without

  having secured plaintiff's consent, and GRANTED in all other respects, by an appropriate Order

  to be issued with this Memorandum Opinion.
                         ~
         Entered this JL day of April, 2019.



                                                            Leonie M. Brinkema
  Alexandria, Virginia
                                                            United States District Judge




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    The result would be different if the settlement Poe negotiated had purported to forfeit
  plaintiff's right to any and all items in the former couple's marital household. Were that the
  case, plaintiff could have claimed that Poe's actions had caused her economic harm in the
  amount of replacing the items to which she would have been due. But that is not what the
  settlement agreement provided.


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